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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF KENTUCKY
                                       AT FRANKFORT
                                  CASE NO. ____________________

GOLDBERG SIMPSON, LLC, et al.                                                       PLAINTIFFS

v.

EVANSTON INSURANCE COMPANY, et al.                                                DEFENDANTS


                                      NOTICE OF REMOVAL


        The Defendants, Evanston Insurance Company (“Evanston”) and Markel Service,

Incorporated (“MSI”), by and through counsel, file this Notice of Removal to the United States

District Court for the Eastern District of Kentucky, Frankfort Division, stating as follows:

        1.        On December 14, 2020, the Plaintiffs, Goldberg Simpson, LLC and GS Closing,

LLC, filed a Complaint against Evanston and MSI in the Franklin County, Kentucky Circuit

Court. The Franklin Circuit Court Clerk assigned the Complaint Civil Action No. 20-CI-00967.

        2.        Evanston and MSI were served with a copy of the Summons and Complaint on

December 21, 2020. A copy of the Summons and Complaint are attached as Exhibit 1 and

constitute all of the process, pleadings and other papers served on Evanston and MSI to date

in this action.

        3.        This is a civil action in which this Court has original jurisdiction pursuant to

28 U.S.C. § 1332, and which may be removed to this Court by Defendants pursuant to 28

U.S.C. § 1441 et seq. since it involves a civil action where the amount in controversy, exclusive

of interest and costs, exceeds $75,000.00, and citizens of different states, as follows:

        (a)       Plaintiff, Goldberg Simpson, LLC is a Kentucky LLC with its principal place of
                  business at 9301 Dayflower Street, Prospect, KY 40059.




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       (b)    Plaintiff, GS Closing, LLC is a Kentucky corporation with its principal place of
              business at 9301 Dayflower Street, Prospect, KY 40059.

       (c)    Defendant, Evanston Insurance Company is an Illinois corporation with its
              principal place of business in Rosemont, IL.

       (d)    Defendant, Markel Service, Incorporated is a Virginia corporation with its
              principal place of business in Glen Allen, VA

       4.     A Memorandum of Points and Authorities in support of Defendants right to

remove this action is attached as Exhibit 2 and incorporated by reference herein.

       5.     The date by which the Defendants are required to file an Answer or otherwise

plead to the Complaint has not expired.

       6.     Defendants’ Notice of Removal is filed within 30 days after the Defendants

were served with a copy of the Summons and Complaint in this action and accordingly, this

Civil Action is properly removable pursuant to 28 U.S.C. § 1441(a).

       7.     A true and accurate copy of the Notice of Removal will be filed with the

Franklin Circuit Court Clerk, pursuant to 28 U.S.C. § 1446(d).

       WHEREFORE, the Defendants, Evanston Insurance Company and Markel Service,

Incorporated, give notice of the removal of this action from the Franklin County, Kentucky

Circuit Court to the United States District Court for the Eastern District of Kentucky at

Frankfort.




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                                                   Respectfully submitted,


                                                   /s/ Jeffrey C. Mando
                                                   Jeffrey C. Mando, Esq. (#43548)
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                                                   jmando@adamsattorneys.com

                                                   Attorney for Defendants, Evanston Insurance
                                                   Company and Markel Service, Incorporated


                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 19th day of January, 2021, I electronically filed the
foregoing with the Clerk of the Court by using the CM/ECF system. I further certify that a true
and correct copy of the foregoing was served via electronic mail, upon the following:

M. Austin Mehr, Esq.
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                                                   /s/ Jeffrey C. Mando
                                                   Jeffrey C. Mando, Esq.




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